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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

SHIRLEY CAVALIER                                 *
                                                 *
                       PLAINTIFF                 *
VS.                                              *    CIVIL ACTION NO. 17-260-SDD-EWD
                                                 *
                                                 *
CARRINGTON MORTGAGE SERVICES,                    *
LLC, ET AL                                       *
              DEFENDANTS                         *

                    STIPULATION OF DISMISSAL WITH PREJUDICE
                   FOR EXPERIAN IN FORMATION SOLUTIONS, INC.

TO THE HONORABLE JUDGE DICK:

       Plaintiff Shirley Cavalier and Defendant Experian Information Solutions, Inc. file this

Stipulation of Dismissal with Prejudice and in support thereof would respectfully show the Court

as follows:

       Pursuant to Fed. R. Civ. P. 41(a)(2), Shirley Cavalier, (“Plaintiff”) and Experian Information

Solutions, Inc. (“Experian”) hereby jointly stipulate and agree that Plaintiff hereby dismisses, with

prejudice, her claims against Experian in the above-styled action, with each party to bear her or its

respective attorney’s fees, costs and expenses, reserving plaintiff’s claims against the remaining

defendants, Carrington Mortgage Services, LLC and Bank of America, N.A.

                                                      s/Garth J. Ridge
                                                      GARTH J. RIDGE
                                                      Bar Roll Number: 20589
                                                      Attorney for Plaintiff
                                                      251 Florida Street, Suite 301
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                                 CERTIFICATE OF SERVICE
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         I HEREBY CERTIFY that on the 6th day of February, 2018, I electronically filed the
foregoing with the Clerk of court by using the CM/ECF system which will send a notice of electronic
filing to all counsel of record.


                                                     s/Garth J. Ridge
                                                     GARTH J. RIDGE
                                                     Bar Roll Number: 20589
                                                     Attorney for Plaintiff
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